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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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-V- | 19-cr-850 (JSR)
PARKER H. PETIT and WILLIAM TAYLOR, :
Defendants. 2
x

I. PARKER H. PETIT

1. On Count One, the charge of conspiracy to commit securities fraud, make false filings with the
Securities and Exchange Commission, and/or mislead MiMedx’s auditors, we the jury find
Parker H. Petit:

Guilty | Not Guilty 4
2. On Count Two, the charge of securities fraud, we the jury find Parker H. Petit:
Guilty Vv Not Guilty
Il. WILLIAM TAYLOR

3, On Count One, the charge of conspiracy to commit securities fraud, make false filings with the
Securities and Exchange Commission, and/or mislead MiMedx’s auditors, we the jury find
William Taylor:

f

Guilty / Not Guilty
4. On Count Two, the charge of securities fraud, we the jury find William Taylor:
f
Guilty Not Guilty f

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